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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                       San Francisco Division

                                  11    AMERICAN CIVIL LIBERTIES UNION                   Case No. 16-cv-03539-LB
                                        OF NORTHERN CALIFORNIA,
                                  12
Northern District of California




                                                      Plaintiff,
 United States District Court




                                                                                         ORDER DENYING PLAINTIFF’S
                                  13                                                     MOTION FOR SUMMARY JUDGMENT
                                                v.                                       AND GRANTING DEFENDANTS’
                                  14                                                     CROSS-MOTIONS FOR SUMMARY
                                        ALEX M. AZAR, II, Secretary of Health and        JUDGMENT
                                  15    Human Services, et al.,
                                                                                         Re: ECF No. 116, 120, 121
                                  16                  Defendants,

                                  17            v.

                                  18    U.S. CONFERENCE OF CATHOLIC
                                        BISHOPS,
                                  19
                                                      Defendant-Intervenor.
                                  20

                                  21                                          INTRODUCTION
                                  22      The American Civil Liberties Union of Northern California brings this Establishment Clause

                                  23   action in connection with two government programs, one that provides services to undocumented

                                  24   minors who arrive in the United States without being accompanied by a parent or guardian (the

                                  25   Unaccompanied Alien Children Program, or “UACP”) and one that provides services to victims of

                                  26   human trafficking (the Trafficking Victim Assistance Program, or “TVAP”). The ACLU claims

                                  27   that the government’s UACP and TVAP grant funding of, and interactions with, religious

                                  28   organizations such as the U.S. Conference of Catholic Bishops (the “Bishops Conference” or

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                                   1   “USCCB”) — in the face of such organizations’ religious objection to providing access to

                                   2   abortion or contraception — violates the Establishment Clause.

                                   3       Discovery has clarified that this case is not about the government or any religious organization

                                   4   denying access to abortion or contraception. There is no evidence in the record that any

                                   5   unaccompanied minor or trafficking victim who wanted an abortion or contraception during the

                                   6   time period relevant to this case was unable to obtain them.1 While the ACLU claims that the

                                   7   government has provided millions of dollars in grant funding to the Bishops Conference while

                                   8   allowing the Conference to impose its religious beliefs and restrict access to abortion and

                                   9   contraception services to the unaccompanied minors and trafficking victims in its care, the record

                                  10   in this case does not bear this out. There is no evidence that any grant funding was used for any

                                  11   religious purpose or that any unaccompanied minor or trafficking victim who wanted an abortion

                                  12   or contraception was unable to obtain them.
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                                  13       The fact that certain government grantees like the Bishops Conference have religious

                                  14   objections to abortion has, in three or four instances, led to unaccompanied minors being

                                  15   transferred from one shelter to another. When an unaccompanied minor who is housed at a shelter

                                  16   operated by an organization with such an objection asks for an abortion, the government facilitates

                                  17   a transfer to another shelter that does not have objections to abortion so that the minor can obtain

                                  18   an abortion. The ACLU argues that this transfer process harms the minor because (1) the transfer

                                  19   delays her obtaining an abortion and (2) the transfer forces her to leave the support structure at her

                                  20   original shelter. No unaccompanied minor is a party to this case, and the ACLU — which brings

                                  21

                                  22   1
                                         In March 2017, the government allegedly promulgated new policies that prevent all shelters for
                                       unaccompanied minors (religious and secular) from taking any actions facilitating access to abortions
                                  23   (including transportation to medical appointments) without signed approval from defendant Scott
                                       Lloyd, Director of the Office of Refugee Resettlement. Those policies are not at issue in this case. See
                                  24   ACLU of N. Cal. v. Burwell, No. 16-cv-03539-LB, 2017 WL 4551492, at *1, *4–6 (N.D. Cal. Oct. 11,
                                       2017) (Order – ECF No. 102) (denying motion to amend complaint to include claims that the
                                  25   government itself blocking abortion access, as not closely related to the originally-pleaded
                                       Establishment Clause claim). The government’s alleged blocking of abortion access is the subject of a
                                  26   separate case pending in the District of Columbia, where the district court issued an order enjoining the
                                       government from enforcing its new policies (a decision that is now on appeal). Garza v. Azar, 304 F.
                                  27   Supp. 3d 145 (D.D.C. 2018), appeal docketed sub nom., In re Azar, No. 18-8003 (D.C. Cir. Apr. 12,
                                       2018).
                                  28

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                                   1   its claim solely in its capacity as a taxpayer — cannot base its claim on putative harms that it did

                                   2   not bear itself. The ACLU also argues that the government is endorsing the Conference’s religious

                                   3   views by participating in this process. A reasonable person would not view the government, which

                                   4   facilitated access to abortion by transferring unaccompanied minors who want abortions to shelters

                                   5   where they can obtain them, to be endorsing the Conference’s anti-abortion views.

                                   6       The record in this case shows that the government’s UACP and TVAP grant relationships and

                                   7   interactions with religious organizations like the Bishops Conference (1) had a secular purpose,

                                   8   (2) did not have a principal or primary effect of advancing religion, and (3) did not foster an

                                   9   excessive entanglement with religion. Cf. Lemon v. Kurtzman, 403 U.S. 602, 612–13 (1971)

                                  10   (setting out three-part Establishment Clause test). The court therefore denies the ACLU’s motion

                                  11   for summary judgment and grants the defendants’ cross-motions for summary judgment.

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                                  13                                             STATEMENT
                                  14   1. The Unaccompanied Alien Children Program
                                  15       1.1   Overview
                                  16       Each year, tens of thousands of undocumented minors2 who are unaccompanied by their

                                  17   parents or any legal guardian are taken into federal custody after crossing the border into the

                                  18   United States.3 Pursuant to statute, the U.S. Department of Health and Human Services (“HHS”)

                                  19

                                  20   2
                                         The government uses the terms “children” and “minors” interchangeably in the context of the UACP.
                                  21   See, e.g., Office of Refugee Resettlement, Funding Opportunity Announcement: Residential Services
                                       for Unaccompanied Alien Children HHS-2014-ACF-ORR-ZU-0608 (“2013 UACP FOA”) – ECF No.
                                  22   120-1 at 4 (PRICE_PROD_00001704). Citations refer to material in the Electronic Case File (“ECF”);
                                       pinpoint citations are to the ECF-generated page numbers at the top of documents.
                                  23   3
                                        Permanent Subcomm. on Investigations, S. Comm. of Homeland Sec. & Governmental Affairs,
                                       Protecting Unaccompanied Alien Children from Trafficking and Other Abuses: The Role of the Office
                                  24   of Refugee Resettlement, at 1, 5 (2016), available at https://www.hsgac.senate.gov/imo/media/doc/
                                       Majority%20&%20Minority%20Staff%20Report%20-%20Protecting%20Unaccompanied%20Alien
                                  25   %20Children%20from%20Trafficking%20and%20Other%20Abuses%202016-01-282.pdf (last visited
                                       Oct. 11, 2018) (cited by First Amend. Compl. (“FAC”) – ECF No. 57 at 20 (¶ 71 & n.6)) (“PSI
                                  26   Report”); accord ACLU Mot. – ECF No. 116 at 8; Gov’t Cross-Mot. – ECF No. 120 at 7. The court
                                       may take judicial notice of information on government websites that is not reasonably subject to
                                  27   dispute, as a matter of public record. Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998–99 (9th Cir.
                                       2010).
                                  28

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                                   1   and its component agency the Office of Refugee Resettlement (“ORR”) are tasked with providing

                                   2   care and custody to those unaccompanied minors. 8 U.S.C. § 1232(b)(1) (“Consistent with section

                                   3   279 of Title 6, and except as otherwise provided under subsection (a), the care and custody of all

                                   4   unaccompanied alien children, including responsibility for their detention, where appropriate, shall

                                   5   be the responsibility of the Secretary of Health and Human Services.”); 6 U.S.C. § 279(b)(1)

                                   6   (assigning responsibilities to ORR). Subject to considerations of “danger to self, danger to the

                                   7   community, and risk of flight,” ORR is responsible for promptly placing unaccompanied minors in

                                   8   “the least restrictive setting that is in the best interests of the child.” 8 U.S.C. § 1232(c)(2)(A).

                                   9         Most unaccompanied minors who are referred to ORR are eventually released from

                                  10   government custody to parents or sponsors who live in the United States.4 These unaccompanied

                                  11   minors often are held in short-term facilities or shelters while they await release to their parents

                                  12   and sponsors.5 For some unaccompanied minors, ORR cannot identify an individual who can
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                                  13   serve as a viable sponsor.6 Unaccompanied minors who are expected to be in the government’s

                                  14   custody for an extended period or those who have special needs are sometimes transferred to a

                                  15   group home or a foster family.7 For others, ORR may determine that the unaccompanied minor

                                  16   must be placed in a more restrictive custodian setting.8

                                  17         ORR is subject to the terms of the class-action settlement in Flores v. Reno, No. CV 85-4544-

                                  18   RJK (Px) (C.D. Cal.), that the government signed in 1997 (“Flores Agreement”).9 The Flores

                                  19   Agreement sets minimum standards for “licensed programs” — “program[s], agenc[ies] or

                                  20   organization[s] that [are] licensed by an appropriate State agency to provide residential, group, or

                                  21

                                  22
                                       4
                                           FAC – ECF No. 57 at 8 (¶ 25); Gov’t Answer – ECF No. 60 at 4 (¶ 25).
                                       5
                                           FAC – ECF No. 57 at 8 (¶ 25); Gov’t Answer – ECF No. 60 at 4 (¶ 25).
                                  23   6
                                           FAC – ECF No. 57 at 8 (¶ 25); Gov’t Answer – ECF No. 60 at 4 (¶ 25).
                                  24   7
                                           FAC – ECF No. 57 at 8 (¶ 25); Gov’t Answer – ECF No. 60 at 4 (¶ 25).
                                  25
                                       8
                                           FAC – ECF No. 57 at 8 (¶ 25); Gov’t Answer – ECF No. 60 at 4 (¶ 25).
                                       9
                                         Stipulated Settlement Agreement, Flores v. Reno, No. CV 85-4544-RJK (Px) (C.D. Cal. Jan. 17,
                                  26   1997, as amended Dec. 7, 2001), available at https://www.aclu.org/sites/default/files/assets/flores_
                                       settlement_final_plus_extension_of_settlement011797.pdf (last visited Oct. 11, 2018). The
                                  27   government filed the Flores Agreement on the docket at ECF No. 92-3 and also cites to the version of
                                       the Flores Agreement on the ACLU’s website as authoritative. Gov’t Cross-Mot. – ECF No. 120 at 8.
                                  28

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                                   1   foster care services for dependent children” — where ORR can place unaccompanied minors.10

                                   2   Among other things, licensed programs must provide unaccompanied minors with living

                                   3   accommodations, food, clothing, personal grooming items, medical care, an individualized needs

                                   4   assessment, educational services, a recreation and leisure-time plan including daily outdoor

                                   5   activity, individual and group counseling sessions, access to religious services of the minor’s

                                   6   choice whenever possible, visitation and contact with family members (regardless of their

                                   7   immigration status), a reasonable right to privacy, family reunification services, and legal-services

                                   8   information.11 Specifically with respect to medical care, the Flores Agreement states that licensed

                                   9   programs must provide “[a]ppropriate routine medical and dental care, family planning services,

                                  10   and emergency health care services[.]”12

                                  11         1.2     Grants
                                  12               1.2.1    Funding opportunity announcement
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                                  13         In 2013, ORR issued a “funding opportunity announcement” (“FOA”) to invite licensed non-

                                  14   governmental organizations to apply for government grant funding to provide residential custody-

                                  15   and-care services to unaccompanied minors.13 The FOA provided that services must include “a

                                  16   complete medical examination . . .; family planning services[;] other appropriate and routine

                                  17   medical and dental care; emergency health care services; administration of prescribed medication

                                  18   and special diets; and appropriate mental health interventions when necessary.”14

                                  19         Both faith-based and secular organizations were eligible to apply to participate as grantees.15

                                  20   Grantees are subject to federal regulations that provide that they may not engage in inherently

                                  21   religious activities, such as worship, religious instruction, or proselytization, as part of the

                                  22

                                  23   10
                                         Flores Agreement – ECF No. 92-3 at 4–5 (pp. 4–5); Flores Agreement Ex. 1 – ECF No. 92-3 at 23–
                                  24   26 (pp. 1–4).
                                       11
                                            Flores Agreement Ex. 1 – ECF No. 92-3 at 23–26 (pp. 1–4).
                                  25   12
                                            Id. at 23 (p. 1).
                                  26   13
                                            2013 UACP FOA – ECF No. 120-1.
                                       14
                                  27        Id. at 8 (PRICE_PROD_00001708).
                                       15
                                            See id. at 13 (PRICE_PROD_00001713).
                                  28

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                                   1   programs or services funded with direct governmental financial assistance. 45 C.F.R. §§ 87.1(c),

                                   2   87.2(c) (2004) (amended Jan. 20, 2016); 45 C.F.R. §§ 87.1(c), 87.2(c) (Jan. 20, 2016) (amended

                                   3   May 4, 2016); 45 C.F.R. § 87.3(b) (May 4, 2016). Grantees remain independent from the

                                   4   government and may continue to express their religious beliefs, provided they do not use direct

                                   5   financial assistance from the government to support any inherently religious activities. 45 C.F.R.

                                   6   §§ 87.1(d), 87.2(d) (2004) (amended Jan. 20, 2016); 45 C.F.R. §§ 87.1 (d), 87.2(d) (Jan. 20, 2016)

                                   7   (amended May 4, 2016); 45 C.F.R. § 87.3(c) (May 4, 2016).

                                   8         The FOA provided that ORR would use objective review panels comprised of experts with

                                   9   knowledge and experience in the area to review and evaluate grant applications.16

                                  10             1.2.2    Grant awards
                                  11         ORR selected and entered into grant agreements with numerous grantees.17 One of these

                                  12   grantees was the Bishops Conference.18 The Bishops Conference in turn entered into subgrant
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                                  13   agreements with various organizations (including Catholic Charities, His House, and Youth for

                                  14   Tomorrow) that operate facilities and shelters that provide services to unaccompanied minors.19

                                  15   The Bishops Conference, Catholic Charities, His House, and Youth for Tomorrow received UACP

                                  16   grants of approximately $42.9 million in fiscal year 2015, $54.7 million in fiscal year 2016, and

                                  17   $72.7 million in fiscal year 2017.20

                                  18         There is no evidence in the record that ORR or any government actor selected the Bishops

                                  19   Conference as a grantee to promote Catholicism, Catholic religious views, or Catholic social

                                  20

                                  21   16
                                            Id. at 33 (PRICE_PROD_00001733).
                                       17
                                  22      According to a U.S. Senate subcommittee report, HHS awarded 56 grants to over 30 care providers
                                       in fiscal year 2016. PSI Report at 11. Currently, ORR has agreements with just over 100 shelters in 17
                                  23   states. Office of Refugee Resettlement, Fact Sheet: Unaccompanied Alien Children Program (June 15,
                                       2018), available at https://www.hhs.gov/sites/default/files/Unaccompanied-Alien-Children-Program-
                                  24   Fact-Sheet.pdf (last visited Oct. 11, 2018). As a matter of public record, the court may take judicial
                                       notice of information on government websites that is not reasonably subject to dispute. Daniels-Hall,
                                  25   629 F.3d at 998–99.
                                       18
                                            See Gov’t Suppl. Interrog. Resps. – ECF No. 116-1 at 11.
                                  26
                                        FAC – ECF No. 57 at 8–9 (¶¶ 26–27); Gov’t Answer – ECF No. 60 at 5 (¶¶ 26–27); Bishops Conf.
                                       19

                                  27   Answer – ECF No. 59 at 9 (¶ 26).
                                       20
                                            Gov’t Suppl. Interrog. Resps. – ECF No. 116-1 at 11.
                                  28

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                                   1   teaching.21 There is no evidence in the record that the Bishops Conference or any of its

                                   2   subgrantees used any government-grant money to promote Catholicism or for religious education

                                   3   or proselytization, to maintain or improve churches or religious facilities, to purchase religious

                                   4   items, or to distribute religious literature.22 There is no evidence in the record that the Bishops

                                   5   Conference required any subgrantee to adopt its religious views in order to receive a subgrant.23

                                   6        1.3     Access to Abortion
                                   7              1.3.1   Generally
                                   8        The Catholic Church and the Bishops Conference have moral and religious objections to

                                   9   abortion and contraception.24 Consequently, the Conference will not provide access to abortion or

                                  10   contraception services or refer individuals to such services.25

                                  11

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                                  13
                                       21
                                          Cf. HHS Rule 30(b)(6) Dep. (White) – ECF No. 120-1 at 84–85 (pp. 97–98) (“Q. As deputy
                                  14   direct[o]r of ORR, are you aware of any preferential treatment that HHS or ORR has given to any
                                       faith-based grantee or faith-based applicant for the care and custody of unaccompanied alien children?
                                  15   A. No.”); Bishops Conf. Bishops Conf. Rule 30(b)(6) Dep. (Kuennen) – ECF No. 121-1 at 45 (p. 69)
                                       (“Q. Was the primary effect of the grant, as administered by USCCB, to provide funding for the
                                  16   Catholic Church? A. No. Q. Was the primary effect of the grant, as administered by USCCB, to
                                       promote Catholic religious views? A. No. Q. Was the primary effect of the grant, as administered by
                                  17   USCCB, to promote Catholic social teaching? A. No.”).

                                  18
                                       22
                                         Cf. Bishops Conf. Bishops Conf. Rule 30(b)(6) Dep. (Kuennen) – ECF No. 121-1 at 45 (p. 68)
                                       (“Q. Okay. Does USCCB use any funds from the grant to promote Catholicism? A. No. Q. Does
                                  19   USCCB use any funds from the grant for proselytization? A. No. Q. Does USCCB use any funds from
                                       the grants for religious education purposes? A. No. Q. Does USCCB use any funds from the grant to
                                  20   maintain or improve churches or other religious facilities? A. No. Q. Does USCCB use any funds from
                                       the grant to purchase religious items? A. No. Q. Does USCCB use any funds from the grant to
                                  21   purchase or distribute religious literature? A. No.”).
                                       23
                                          Cf. ACLU Interrog. Resps. – ECF No. 116-1 at 60–61 (“Plaintiff states that Plaintiff’s First
                                  22   Amended Complaint does not make such an allegation [that the Bishops Conference’s subgrantees
                                       were compelled to adopt religious objections to abortion and/or contraception]. Plaintiff does not
                                  23   allege that USCCB’s subgrantees were compelled to adopt religious objections but rather that they are
                                       prohibited through funding agreements and [memorandums of understanding] from providing abortion
                                  24   or contraception care or referrals.”).
                                  25
                                       24
                                         See, e.g., Bishops Conf., Proposal for Trafficking Victim Assistance Program – ECF No. 116-1 at
                                       182 (ACF_000105) (“This grantee is affiliated with a program of the Catholic Church, which has
                                  26   moral and religious objections to direct sterilization, contraception, and abortion.”); HHS Rule
                                       30(b)(6) Dep. (White) – ECF No. 120-1 at 81 (p. 44).
                                  27   25
                                         See, e.g., Bishops Conf., Proposal for Trafficking Victim Assistance Program – ECF No. 116-1 at
                                       182 (ACF_000105).
                                  28

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                                   1         If an unaccompanied minor in the custody of a Bishops Conference subgrantee asks for an

                                   2   abortion, the subgrantee notifies ORR and the Conference.26 ORR then arranges to transfer the

                                   3   unaccompanied minor to another provider that does not have an objection to providing abortion

                                   4   access.27

                                   5         The government has stated in sworn interrogatory responses that in the three-year period

                                   6   between fiscal year 2014 and fiscal year 2016, four unaccompanied minors that had been placed in

                                   7   the care of faith-based grantees asked for an abortion.28 Of the four, three were transferred to other

                                   8   care providers to provide them with access to abortion services, and one was discharged to her

                                   9   sponsor, who moved forward with her request for an abortion.29 There is no evidence in the record

                                  10   that any unaccompanied minor who asked for an abortion was unable to obtain one because of the

                                  11   religious objections of the Conference or any subgrantee.30

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                                       26
                                         HHS Rule 30(b)(6) Dep. (White) – ECF No. 120-1 at 76 (p. 38); Bishops Conf. Rule 30(b)(6) Dep.
                                  13   (Kuennen) – ECF No. 121-1 at 41 (pp. 28–29); Lloyd Dep. – ECF No. 116-1 at 45 (pp. 60–61).
                                  14
                                       27
                                          Gov’t Suppl. Interrog. Resps. – ECF No. 116-1 at 9 (“[T]here are no published criteria governing
                                       transfer of UCs when a UC requests abortion services, but, when a UC requested abortion services,
                                  15   and where the religiously-affiliated grantee or subgrantee had objections to such services, the federal
                                       field specialist, in conjunction with the central office, effectuated the transfer of the UC. The UCs were
                                  16   transferred to a facility that did not have an objection and that had available space.”); HHS Rule
                                       30(b)(6) Dep. (White) – ECF No. 120-1 at 76 (p. 38); Lloyd Dep. – ECF No. 116-1 at 46 (pp. 75–76).
                                  17   28
                                            Gov’t Interrog. Resps. – ECF No. 120-1 at 58–59.
                                       29
                                  18        Id.
                                       30
                                          Cf. HHS Rule 30(b)(6) Dep. (White) – ECF No. 120-1 at 75, 84 (pp. 37, 97) (“Q. Are you aware of
                                  19   any instance where a minor was unable to obtain an abortion because of the religious affiliation of the
                                       shelter within which she resided? A. I am not aware of any such instance. . . . Q. Are you aware of any
                                  20   instance in which any grantee shelter has made the final decision that an unaccompanied alien child in
                                       its custody may not receive access to an abortion? A. No.”); Lloyd Dep. – ECF No. 116-1 at 46 (pp.
                                  21   76–77) (“Q. . . . Do you know whether any minor has been unable to receive abortion or contraception
                                       because of the religious entity’s objection to providing that service? A. No. Q. No, you don’t know, or
                                  22   no, that hasn’t happened? A. I don’t recall that happening. . . . Q. So during that period of time that
                                       you’ve been at ORR, are you aware of whether any minor has been unable to receive abortion or
                                  23   contraception because of the religious objection of the shelter within which she resides? A. I, I am
                                       aware. I have a pretty firm recollection. Q. You are aware that that has happened? A. No, that that has
                                  24   not happened. Q. Okay. So just to clarify, you — it is your recollection that no minor has been unable
                                       to receive abortion or contraception because of the religious objection of a grantee? A. Yes, in my
                                  25   recollection.”); Gov’t Suppl. Interrog. Resps. – ECF No. 116-1 at 9 (“[W]hen a UC requested abortion
                                       services, and where the religiously-affiliated grantee or subgrantee had objections to such services, the
                                  26   federal field specialist, in conjunction with the central office, effectuated the transfer of the UC. The
                                       UCs were transferred to a facility that did not have an objection and that had available space.”); accord
                                  27   ACLU 2d Amend. Interrog. Resps. – ECF No. 116-1 at 59 (“At this time, Plaintiff has not identified
                                       particular UCs who have been prevented from obtaining an abortion because of USCCB’s policies.”).
                                  28

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                                   1              1.3.2   Specific examples

                                   2         The ACLU cites four specific examples of unaccompanied minors who asked for abortion

                                   3   services.

                                   4         The first, “Rosa,”31 was apparently raped on her journey to the United States and became

                                   5   pregnant.32 While residing at a shelter in Miami run by a Bishops Conference subgrantee, Catholic

                                   6   Charities Boystown, Rosa requested an abortion.33 Catholic Charities notified ORR of Rosa’s

                                   7   request on September 24, 2014, and asked that Rosa be transferred to another facility.34 Rosa was

                                   8   hospitalized, and following her treatment, was not placed back at her original shelter at Catholic

                                   9   Charities because of her request for an abortion.35 ORR reached out on September 26 to another

                                  10   provider, the Children’s Home Society of Florida, which accepted Rosa on September 29.36 Rosa

                                  11   appears to have obtained an abortion on October 14, 2014.37

                                  12         The second, “Maria,” was a victim of rape who became pregnant.38 ORR was holding Maria at
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                                  13   a temporary shelter (possibly in Texas).39 Maria’s sponsors (her parents) were in Florida.40 At

                                  14

                                  15   31
                                         Rosa’s real name, and the real names of the other three unaccompanied minors whose examples the
                                  16   ACLU cites, were redacted in the documents submitted to the court and therefore are not part of the
                                       record.
                                  17   32
                                         See E-mail from Catholic Charities to HHS (Sept. 24, 2014 1:39 PM) – ECF No. 116-1 at 87
                                       (ORRFOIA2015_000016).
                                  18   33
                                            Id.
                                  19   34
                                         Id.; Email from HHS to HHS (Sept. 24, 2014 9:50 PM) – ECF No. 116-1 at 86 (ORRFOIA2015_
                                       000015).
                                  20   35
                                         Email from HHS to Children’s Home Soc’y of Fla. (Sept. 29, 2014 8:35 AM) – ECF No. 116-1 at 85
                                  21   (ORRFOIA2015_000014). The ACLU states that the reason for Rosa’s hospitalization was because
                                       she had become suicidal at the prospect of not being able to obtain an abortion, ACLU Reply – ECF
                                  22   No. 124 at 9, but the email chain it cites does not contain any discussion that supports this
                                       characterization, see Email Chain – ECF No. 116-1 at 85–87 (ORRFOIA2015_000014–16).
                                  23   36
                                         Email from Children’s Home Soc’y of Fla. to HHS (Sept. 29, 2014 8:36 AM) – ECF No. 116-1 at 85
                                       (ORRFOIA2015_000014).
                                  24   37
                                            See Gov’t Interrog. Resps. – ECF No. 120-1 at 58.
                                  25   38
                                         Email from HHS to HHS (Apr. 17, 2014 7:57 PM) – ECF No. 116-1 at 78 (ORRFOIA2015_
                                       000007).
                                  26   39
                                            See ACLU Reply – ECF No. 124 at 9.
                                  27   40
                                         Email from HHS to HHS (Apr. 18, 2014 10:27 AM) - ECF No. 116-1 at 78 (ORRFOIA2015_
                                       000007).
                                  28

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                                   1   some point on or before April 17, 2014, Maria said that she wanted an abortion.41 Maria did not

                                   2   want her parents to know that she was pregnant.42 Two ORR field specialists looked into the

                                   3   abortion laws in both Texas and Florida and reported that the general rule in both states was that

                                   4   minors could not have abortions without parental consent (absent exceptions, such as obtaining a

                                   5   waiver from a judge).43 The Texas field specialist emailed other ORR staff members to say, “This

                                   6   is why termination of pregnancies are done in New Mexico due to the fact that currently (by law)

                                   7   there is no parental consent requirement.”44 The Florida field specialist emailed to say, “both of

                                   8   the shelters in Florida are faith-based and will not take the child to have this procedure.”45 It

                                   9   appears that as of April 28, 2014, Maria had not received an abortion.46 There is nothing in the

                                  10   record that indicates that Maria was ever placed with a Bishops Conference subgrantee or that the

                                  11   Conference was involved in this discussion. The record does not clearly indicate what ultimately

                                  12   happened to Maria, but there is no evidence in the record that she was ultimately denied access to
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                                  13   abortion services.47

                                  14         The third, “Michelle,” arrived at a short-term shelter referred to as “IES Shelter” and found out

                                  15   there that she was pregnant.48 On June 2, 2014, Michelle told her clinician that she wanted to

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                                  17
                                       41
                                  18        Id.
                                       42
                                            Id.
                                  19   43
                                         Email from HHS to HHS (Apr. 17, 2014 7:57 PM) – ECF No. 116-1 at 78 (ORRFOIA2015_
                                  20   000007); Email from HHS to HHS (Apr. 21, 2014 9:07 PM) - ECF No. 116-1 at 77 (ORRFOIA2015_
                                       000006).
                                  21   44
                                         Email from HHS to HHS (Apr. 17, 2014 7:57 PM) – ECF No. 116-1 at 78 (ORRFOIA2015_
                                       000007) (spacing corrected).
                                  22   45
                                         Email from HHS to HHS (Apr. 21, 2014 9:07 PM) - ECF No. 116-1 at 77 (ORRFOIA2015_
                                  23   000006).
                                       46
                                         See Email (unknown date, sender, and recipient – header not included) – ECF No.116-1 at 76
                                  24   (ORRFOIA2015_000005).
                                  25
                                       47
                                            Cf. Gov’t Interrog. Resps. – ECF No. 120-1 at 58–59.
                                       48
                                         Email from HHS to HHS (June 12, 2014 7:56 PM) – ECF No. 116-1 at 83–84 (ORRFOIA2015_
                                  26   000012–13). It is not clear from the email chain what the “IES Shelter” is, but it may refer to a shelter
                                       run by International Educational Services. The parties do not point to any evidence in the record
                                  27   suggesting that the “IES Shelter” was run by a Bishops Conference subgrantee. Cf. ACLU Reply –
                                       ECF No. 124 at 10 (describing the IES Shelter as a “short-term shelter”).
                                  28

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                                   1   explore terminating her pregnancy.49 Michelle expressed that she did not want to be transferred to

                                   2   a new shelter where she would have to “re-tell” her story to another clinician, case manager, and

                                   3   attorney.50 An ORR field specialist sent an email recommending that Michelle be transferred to

                                   4   San Antonio so that she could explore the option of terminating her pregnancy.51 Once the

                                   5   procedure was completed, the field specialist wrote, Michelle could be transferred back to IES.52

                                   6   Various HHS staff members discussed transferring Michelle to “Seton Home” (but rejected the

                                   7   idea because Seton Home was a shelter for pregnant women who want to keep their babies and

                                   8   was full) or transferring her to “SW Key Casa Blanca” or “BCFS San Antonio Campus” (but

                                   9   rejected the latter proposal because it also was full).53 It appears that as of June 25, 2014, Michelle

                                  10   had not received an abortion.54 There is nothing in the record that indicates that Michelle was ever

                                  11   placed with a Bishops Conference subgrantee or that the Conference was involved in this

                                  12   discussion. The record does not clearly indicate what ultimately happened to Michelle, but there is
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                                  13   no evidence in the record that she was ultimately denied access to abortion services.55

                                  14         The fourth, “Zoe,” was placed at a shelter run by Youth for Tomorrow, a faith-based Bishops

                                  15   Conference subgrantee.56 On January 28, 2015, Zoe told her doctor that she did not want to have

                                  16   the baby because the father was her cousin.57 Zoe said on multiple occasions that she wanted to

                                  17   terminate the pregnancy and did not want to disclose the pregnancy or the decision to terminate

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                                  19
                                       49
                                            Id. at 84 (ORRFOIA2015_000013).
                                  20   50
                                            Id.
                                  21   51
                                            Id.
                                       52
                                  22        Id.
                                       53
                                            Email Chain – ECF No. 116-1 at 79–82 (ORRFOIA2015_000008–11).
                                  23   54
                                         See Email from HHS to HHS (June 25, 2015 11:28 AM) – ECF No. 116-1 at 79 (ORRFOIA2015_
                                  24   00000008).
                                       55
                                            Cf. Gov’t Interrog. Resps. – ECF No. 120-1 at 58–59.
                                  25   56
                                          Email from HHS to HHS (Feb. 17, 2015 3:54 PM) – ECF No. 116-1 at 88 (ORRFOIA_000017); see
                                  26   FAC – ECF No. 57 at 8–9 (¶ 26) (alleging that Youth for Tomorrow is a Bishops Conference
                                       subgrantee); Gov’t Answer – ECF No. 60 at 5 (¶ 26) (admitting); Bishops Conf. Answer – ECF No. 59
                                  27   at 9 (¶ 26) (admitting).
                                       57
                                            Email from HHS to HHS (Feb. 17, 2015 3:54 PM) – ECF No. 116-1 at 88 (ORRFOIA_000017).
                                  28

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                                   1   the pregnancy to her parents.58 It appears that as of February 17, 2015, Zoe had not received an

                                   2   abortion.59 The record does not clearly indicate what ultimately happened to Zoe, but there is no

                                   3   evidence in the record that she was ultimately denied access to abortion services.60

                                   4         1.4   Access to Contraception
                                   5         If an unaccompanied minor in the custody of a Bishops Conference subgrantee asks for

                                   6   contraception, the subgrantee is referred to a medical provider who is independent of the

                                   7   subgrantee.61 The medical provider then addresses the unaccompanied minor’s request

                                   8   independent of the Bishops Conference or its subgrantee.62

                                   9         The government has stated in sworn interrogatory responses that in the three-year period

                                  10   between 2014 and 2016, seventeen unaccompanied minors in the care of faith-based grantees

                                  11   asked for birth-control medication.63 All seventeen received that medication — most the same day

                                  12   or the next day after they made their requests.64 There is no evidence in the record that any
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                                  13   unaccompanied minor who asked for contraception was unable to obtain it because of the religious

                                  14   objections of the Conference or any subgrantee.65

                                  15

                                  16

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                                  18   58
                                            Id.
                                  19   59
                                            Id.
                                  20
                                       60
                                            Cf. Gov’t Interrog. Resps. – ECF No. 120-1 at 58–59.
                                       61
                                            Bishops Conf. Rule 30(b)(6) Dep. (Kuennen) – ECF No. 121-1 at 42 (pp. 30–31).
                                  21   62
                                            Id.
                                  22   63
                                            Gov’t Interrog. Resps. – ECF No. 120-1 at 60.
                                       64
                                  23        Id.
                                       65
                                          Cf. HHS Rule 30(b)(6) Dep. (White) – ECF No. 120-1 at 84 (p. 97) (“Q. First, are you aware of any
                                  24   instance in which any grantee shelter has made a final decision that an unaccompanied alien child in its
                                       custody may not receive contraception? A. No.”); accord ACLU 2d Amend. Interrog. Resps. – ECF
                                  25   No. 116-1 at 59 (“As of now, Plaintiff has not identified particular UCs who have been prevented from
                                       obtaining contraceptives because of USCCB’s policies.”); see also Bishops Conf. Rule 30(b)(6) Dep.
                                  26   (Chester) – ECF No. 120-1 at 140–41 (pp. 69–70) (Bishops Conference reimburses for contraception
                                       in some cases); Bishops Conf. Rule 30(b)(6) Dep. (Chester) – ECF No. 116-1 at 249 (pp. 88–89)
                                  27   (Bishops Conference does not prohibit subgrantees from using TVAP funds to pay for contraception,
                                       although individual subgrantees can make a request to opt out of paying for contraception).
                                  28

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                                   1   2. The Trafficking Victim Assistance Program

                                   2         2.1     Overview
                                   3         In 2000, Congress passed the Trafficking Victims Protection Act (“TVPA”). Pub. L. No. 106-

                                   4   386, div. A, 114 Stat. 1464, 1466–91 (2000). Congress found that “[t]rafficking in persons is a

                                   5   modern form of slavery, and it is the largest manifestation of slavery today. At least 700,000

                                   6   persons annually, primarily women and children, are trafficked within or across international

                                   7   borders. Approximately 50,000 women and children are trafficked into the United States each

                                   8   year.” 22 U.S.C. § 7101(b)(1). Congress enacted the TVPA “to combat trafficking in persons, a

                                   9   contemporary manifestation of slavery whose victims are predominantly women and children, to

                                  10   ensure just and effective punishment of traffickers, and to protect their victims.” 22 U.S.C.

                                  11   § 7101(a). Among other things, the TVPA tasked HHS with expanding benefits and services to

                                  12   trafficking victims. 22 U.S.C. § 7105(b)(1)(B)(i).
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                                  13         To that end, HHS and its component agency the Office of Trafficking in Persons (“OTIP”)

                                  14   oversee the Trafficking Victim Assistance Program, a grant program that funds time-limited

                                  15   comprehensive victim services to foreign trafficking victims who have received or are seeking

                                  16   HHS certification, and certain family members.66 (OTIP was established in June 2015.67 Before

                                  17   OTIP was established, ORR handled certain aspects of the TVAP, including issuing a Funding

                                  18   Opportunity Announcement in early 2015.68)

                                  19         2.2     Grants
                                  20               2.2.1   2006–2011
                                  21         In 2005, HHS decided to select a general contractor to administer TVAP funds. ACLU of

                                  22   Mass. v. Sebelius, 821 F. Supp. 2d 474, 476 (D. Mass. 2012) (“ACLU of Mass. I”), vacated as

                                  23   moot sub nom. ACLU of Mass. v. U.S. Conf. of Catholic Bishops, 705 F.3d 44 (1st Cir. 2013)

                                  24

                                  25   66
                                         HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 116-1 at 153 (p. 33); see also Office of Refugee
                                       Resettlement, Funding Opportunity Announcement: Trafficking Victim Assistance Program HHS-
                                  26   2015-ACF-ORR-ZV-0976 (“2015 TVAP FOA”) – ECF No. 116-1 at 97–147.
                                  27
                                       67
                                            HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 116-1 at 154 (p. 37).
                                       68
                                            Id.
                                  28

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                                   1   (“ACLU of Mass. II”). HHS entered into a master contract with the Bishops Conference in 2006.

                                   2   Id. at 477. The Conference was the only TVAP grantee selected. See id.

                                   3         The Conference, in turn, entered into subcontracts with over 100 service providers. Id. The

                                   4   Conference’s subcontracts included a restriction that “funds shall not be used to provide referral

                                   5   for abortion services or contraceptive materials, pursuant to this contract.” Id.

                                   6         The ACLU sued, alleging that the government was violating the Establishment Clause by

                                   7   allowing a religiously based restriction on the use of taxpayer funds. Id. at 478. On cross-motions

                                   8   for summary judgment, the District Court for the District of Massachusetts held that the

                                   9   government’s arrangement with the Bishops Conference violated the Establishment Clause by

                                  10   effectively endorsing the Conference’s religious views in allowing the Conference to place a

                                  11   religiously motivated restriction on TVAP funding that subcontracting organizations could not opt

                                  12   out of and in delegating to the Conference the authority to decide which services the TVAP would
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                                  13   fund and which services (e.g., abortion) it would not. Id. at 486–88.

                                  14         HHS’s master contract with the Bishops Conference expired in 2011. ACLU of Mass. II, 705

                                  15   F.3d at 48. After the expiration of its contract with the Conference, HHS awarded grants to three

                                  16   separate organizations. Id. at 50–51. The Conference applied for a grant, but its proposal was not

                                  17   selected. Id. at 51. Because the Conference’s grant agreement had ended, the First Circuit on

                                  18   appeal vacated the ACLU of Massachusetts I decision as moot. Id. at 52–54.

                                  19         The government’s 2006–2011 arrangement with the Conference is not at issue in this action.

                                  20            2.2.2    2015 funding opportunity announcement
                                  21         In 2015, the ORR issued a new Funding Opportunity Announcement to invite organizations to

                                  22   apply to enter into TVAP grant agreements.69 The FOA provided that grantees must provide

                                  23   services that included “direct services and/or community referrals for housing, mental health

                                  24   screening and therapy, employability services, legal services, counselling, health screening and

                                  25   medical care, including treatment for sexually transmitted infections, family planning services and

                                  26
                                  27
                                       69
                                            2015 TVAP FOA – ECF No. 116-1 at 99.
                                  28

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                                   1   the full range of legally permissible gynecological and obstetric care, including but not limited to

                                   2   exams, tests, pre-natal services and non-directive health-related counselling.”70 The FOA further

                                   3   provided that “[n]o HHS funds may be expended for an abortion, except in cases where pregnancy

                                   4   is a result of rape or incest or where the woman suffers from a physical condition that would place

                                   5   her life in danger unless an abortion is performed.”71 (This restriction applied equally to religious

                                   6   and secular grantees.72)

                                   7         Both faith-based and secular organizations were eligible to apply to participate as grantees.73

                                   8   The FOA provided that:

                                   9             If an applicant has a religious objection to providing any of the services or referrals
                                                 required in the program, it must explicitly describe the approach to meeting its
                                  10             grant obligations consistent with [the ORR’s Administration for Children and
                                                 Families]’s faith-based policy. The alternative approach must be one that
                                  11             accomplishes the goal of ensuring that trafficking victims understand the full range
                                                 of services available to them, including reproductive health services, and that there
                                  12             is a mechanism by which victims requesting such services can receive appropriate
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                                                 referrals. The alternative approach must ensure timely referrals to all services for
                                  13             which the individual is eligible, not be burdensome to the client, and be
                                                 operationally feasible for ORR.74
                                  14

                                  15         As discussed above, federal regulations provide that faith-based grantees may not engage in

                                  16   inherently religious activities. 45 C.F.R. §§ 87.1(c), 87.2(c) (2004) (amended Jan. 20, 2016); 45

                                  17   C.F.R. §§ 87.1(c), 87.2(c) (Jan. 20, 2016) (amended May 4, 2016); 45 C.F.R. § 87.3(b) (May 4,

                                  18   2016).

                                  19         The FOA provided that ORR would use objective review panels comprised of experts with

                                  20   knowledge and experience in the area to review and evaluate grant applications.75

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                                       70
                                  24        Id. at 100–01.
                                       71
                                            Id. at 131.
                                  25   72
                                            HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 120-1 at 111 (p. 161).
                                  26   73
                                            2015 TVAP FOA – ECF No. 116-1 at 109.
                                       74
                                  27        Id. at 120.
                                       75
                                            Id. at 136; accord HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 120-1 at 97 at 104 (p. 80).
                                  28

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                                   1             2.2.3    Grant awards

                                   2         OTIP selected and entered into grant agreements with three grantees: the Bishops Conference,

                                   3   Tapestri, and the U.S. Committee for Refugees and Immigrants (“USCRI”).76 The Conference is a

                                   4   faith-based organization, whereas Tapestri and USCRI are secular.77 The Conference received

                                   5   TVAP grants of approximately $2.1 million in fiscal year 2015, $1.6 million in fiscal year 2016,

                                   6   and $0 in fiscal year 2017.78 USCRI received TVAP grants of approximately $3.8 million in fiscal

                                   7   year 2015, $4.4 million in fiscal year 2016, and $6.0 million in fiscal year 2017.79

                                   8         The Bishops Conference’s original grant proposal in 2015 stated that “USCCB/MRS is

                                   9   committed to acting in accordance with Catholic teaching in administering the program, including

                                  10   the determination of allowable and unallowable costs. In carrying out the program, sub-recipients

                                  11   will not provide or refer for abortion, sterilization, or artificial contraceptives and no project funds

                                  12   will be used for that purpose.”80 In response to that provision, OTIP emailed the Bishops
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                                  13   Conference and asked:

                                  14             Per the FOA requirements, “a grantee may not take any steps to discourage
                                                 program participants from making a request for a service available under the
                                  15             program, nor may a grantee direct subcontractor to refrain from providing services
                                                 when the subcontractor has no religious objection to providing such services.”
                                  16             Consistent with these requirements, no program-related documents, including, but
                                                 not limited to, sub-recipient agreement documents, memoranda of understanding,
                                  17             program guidelines, or work plans, may limit the subcontractor’s ability to provide
                                                 any services, as specified in the TVAP FOA, for which victims are eligible.
                                  18
                                                 • Will USCCB be able to meet this FOA requirement?
                                  19
                                                 • USCCB stated: “ ...sub-recipients will be directed to contact USCCB/MRS
                                  20             immediately in any cases that cannot be accommodated through existing program
                                  21

                                  22
                                       76
                                            HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 120-1 at 97, 103 (pp. 34, 79)
                                  23
                                        See HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 121-1 at 78 (p. 168) (re Tapestri); Bishops
                                       77

                                  24   Conference Rule 30(b)(6) Dep. (Chester) – ECF No. 116-1 at 244 (p. 51) (re USCRI).
                                       78
                                            Gov’t Suppl. Interrog. Resps. – ECF No. 116-1 at 12.
                                  25   79
                                          Id. at 13. The ACLU’s interrogatories apparently did not ask for the grant levels for Tapestri, and
                                  26   hence this information was not included in the government’s interrogatory responses that the parties
                                       filed with the court. See id. at 12–13.
                                  27   80
                                         Bishops Conf., Proposal for Trafficking Victim Assistance Program – ECF No. 116-1 at 182 (ACF_
                                       000105).
                                  28

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                                                  guidance.” What is USCCB’s plan for cases involving a request for services that
                                   1              USCCB or a subcontractor cannot provide due to religious objection?81
                                   2         The Conference responded:

                                   3              If awarded a contract for the Trafficking Victim Assistance Program (TVAP),
                                                  USCCB intends to include in its subcontracts with its sub-recipients the following
                                   4              language:
                                   5                 “In administering the program, USCCB/MRS is committed to acting in
                                                     accordance with Catholic teaching which has moral and religious objections to
                                   6                 direct sterilization, artificial contraception, and abortion. In carrying out the
                                                     program, Sub-recipients will not provide or refer for abortion, sterilization, or
                                   7                 artificial contraceptives and no project funds will be used for that purpose. Sub-
                                                     recipients will provide all newly enrolled clients with a brochure that indicates
                                   8                 all services for which they are eligible. . . .”82
                                   9   The Conference noted that all of its subcontractors were affiliates of Catholic agencies or Bethany

                                  10   Christian Services that shared its religious objection to providing abortion or contraception.83 The

                                  11   Conference said that it understood that there might be other social-services agencies that did not

                                  12   have a religious objection to providing abortion or contraception and that those agencies would
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                                  13   have the opportunity to subcontract directly with one of the other TVAP grantees.84 The

                                  14   Conference further said that in the event that one of its subcontractors could not provide a service

                                  15   (e.g., abortion) to a trafficking victim due to a religious objection, it would contact other TVAP

                                  16   grantees and/or OTIP to facilitate a transfer of the victim to another grantee.85 The Conference

                                  17   said that unlike in the 2006–2011 time period — when the Conference was the only TVAP grantee

                                  18   — there were now other TVAP grantees, so any potential subgrantee that did not share the

                                  19   Conference’s religious objections could apply for TVAP funding through the other grantees.86

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                                  22   81
                                         Email from HHS to Bishops Conf. (Sept. 17, 2015 6:02 PM) – ECF No. 116-1 at 226
                                  23   (USCCB00000532).
                                       82
                                         Email from Bishops Conf. to HHS (Sept. 18, 2015 5:42 PM) – ECF No. 116-1 at 222
                                  24   (USCCB00000529).
                                       83
                                  25        Id.
                                       84
                                            Id.
                                  26   85
                                            Id. at 223 (USCCB00000530).
                                  27   86
                                         Email from Bishops Conf. to HHS (Sept. 25, 2015 4:29 PM) – ECF No. 116-1 at 235
                                       (USCCB00000980).
                                  28

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                                   1         OTIP responded that the language that the Bishops Conference proposed to include in its

                                   2   subgrant agreements would not meet the FOA requirements.87 Citing ACLU of Massachusetts I,

                                   3   OTIP asserted that “grantees may not adopt rules, based on their own moral or religious beliefs,

                                   4   governing sub-grantee use of funds for a federal program.”88 In an effort to accommodate the

                                   5   Conference, OTIP proposed revising its proposed language to read, “Sub-recipients sharing these

                                   6   religious objections may elect will not to provide or refer for abortion, sterilization, or artificial

                                   7   contraceptives and not to use no project funds will be used for that purpose.”89 OTIP also stated

                                   8   that if potential subgrantees were referred to other TVAP grantees instead of the Conference, the

                                   9   Conference’s budget would likely have to be adjusted.90

                                  10         Following a call with OTIP, the Conference proposed removing that sentence entirely and

                                  11   instead adding a new sentence in its agreements with subgrantees that would state, “the (named

                                  12   agency) voluntarily agrees that it shares the religious objections of USCCB to providing or
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                                  13   referring clients for abortion, sterilization and artificial contraception, and to the use of program

                                  14   funds for those purposes.”91 Following another call, the Conference agreed to removing its newly

                                  15   proposed sentence as well.92 The Conference instead proposed including a statement in a program

                                  16   brochure that would be provided to both subgrantees and trafficking victims that would state,

                                  17   “This grantee (USCCB) is affiliated with the Catholic Church, which has moral and religious

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                                  19

                                  20

                                  21
                                       87
                                         Email from HHS to Bishops Conf. (Sept. 22, 2015 11:47 AM) – ECF No. 116-1 at 222
                                       (USCCB0000528); Email from HHS to Bishops Conf. (Sept. 28, 2015 12:30 PM) – ECF No. 116-1 at
                                  22   233–34 (USCCB00000978–79).
                                       88
                                         Email from HHS to Bishops Conf. (Sept. 28, 2015 12:30 PM) – ECF No. 116-1 at 234
                                  23   (USCCB00000979).
                                       89
                                  24        Id. (blacklining added).
                                       90
                                         Id.; Email from HHS to Bishops Conf. (Sept. 22, 2015 11:47 AM) – ECF No. 116-1 at 221
                                  25   (USCCB0000528).
                                  26
                                       91
                                         Email from Bishops Conf. to HHS (Sept. 28, 2015 4:18 PM) – ECF No. 121-1 at 103 (PRICE_
                                       PROD_00008569).
                                  27   92
                                         Email from Bishops Conf. to HHS (Sept. 29, 2015 10:12 AM) – ECF No. 121-1 at 102 (PRICE_
                                       PROD_00008568).
                                  28

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                                   1   objections to direct sterilization, contraception, and abortion. You are free to discuss all health

                                   2   matters with your medical provider.”93

                                   3         OTIP and the Bishops Conference exchanged emails reconfirming that (1) both of the

                                   4   sentences the Conference had proposed for subgrant agreements — that subgrantees “will not

                                   5   provide or refer for abortion, sterilization, or artificial contraceptives and no project funds will be

                                   6   used for that purpose” and that subgrantees “voluntarily agree[] that [they] share[] the religious

                                   7   objections of USCCB to providing or referring clients for abortion, sterilization and artificial

                                   8   contraception, and to the use of program funds for those purposes” — would be removed from any

                                   9   TVAP-related documents and (2) the Conference would “refrain from including any language in

                                  10   any program-related documents, including sub-agreements, limiting the ability of subcontractors

                                  11   to provide any services, as provided in the TVAP FOA, for which victims are eligible.”94 With

                                  12   that agreement, OTIP went forward with evaluating the Bishops Conference’s grant application
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                                  13   and ultimately selected it as a grantee (along with Tapestri and USCRI).95

                                  14         There is no evidence in the record that OTIP or any government actor selected the Bishops

                                  15   Conference as a grantee to promote Catholicism, Catholic religious views, or Catholic social

                                  16   teaching.96 There is no evidence in the record that the Bishops Conference or any of its

                                  17

                                  18   93
                                            Id.
                                  19
                                       94
                                         Email from HHS to Bishops Conf. (Sept. 29, 2015 10:15 AM) – ECF No. 121-1 at 101–02 (PRICE_
                                       PROD_00008567–68); Email from Bishops Conf. to HHS (Sept. 29, 2015 11:00 AM) – ECF No.
                                  20   121-1 at 101 (PRICE_PROD_00008567).
                                       95
                                         See HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 122-1 at 9 (p. 105) (confirming that the Bishops
                                  21   Conference had removed from its subgrant agreements the language prohibiting subgrantees from
                                       providing or referring for abortion or contraception).
                                  22   96
                                          Cf. HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 120-1 at 110 (p. 160) (“Q. Okay. Was any TVAP
                                  23   grant awarded to any religiously affiliated grantee for the purpose of promoting religion? A. No.
                                       Q. Was any TVAP grant awarded to any religiously affiliated grantee for the purpose of promoting any
                                  24   specific religion or religious belief? A. No.”); Bishops Conf. Rule 30(b)(6) Dep (Chester) – ECF No.
                                       121-1 at 89 (pp. 98–99, 101) (“Q. Was the primary effect of the grant, as administered by USCCB, to
                                  25   promote or advance Catholicism? A. No. Q. Was the primary effect of the grant, as administered by
                                       USCCB, to provide funding for the Catholic Church? A. No. Q. Was the primary effect of the grant, as
                                  26   administered by USCCB, to promote Catholicism? A. No. Q. Was the primary effect of the grant, as
                                       administered by USCCB, to promote Catholic religious views? A. No. Q. Was the primary effect of
                                  27   the grant, as administered by USCCB, to promote Catholic social teaching? A. No. . . . Q. . . . In the
                                       course of the negotiations over the grant, did anyone at HHS ever communicate to you or anyone else
                                  28   at USCCB that one of the government’s purposes in giving the grant to USCCB was to promote

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                                   1   subgrantees used any TVAP grant money to promote Catholicism or for religious education or

                                   2   proselytization, to maintain or improve churches or religious facilities, to purchase religious items,

                                   3   or to distribute religious literature.97

                                   4         There is no evidence in the record that the Bishops Conference required any subgrantee to

                                   5   adopt its religious views.98 This may be in part because, at the time the Conference was selected

                                   6   pursuant to the 2015 TVAP FOA, all of the Conference’s network of would-be subgrantees

                                   7   already shared its religious views to begin with.99 At one point, one organization that did not share

                                   8   the Conference’s religious views applied to be a Conference subgrantee.100 The Conference

                                   9   referred the organization to USCRI, one of the other national TVAP grantees, because (1) “it” was

                                  10

                                  11

                                  12   Catholicism? A. No. Q. Did they communicate that it was the government’s purpose to promote
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                                       religion generally? A. No. Q. Did they communicate that it was the purpose to promote a specific
                                  13   religious belief with respect to abortion and contraception? A. No.”).
                                  14
                                       97
                                         Cf. HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 120-1 at 110–11 (p. 160–61) (“Q. Are you aware of
                                       any grantee using TVAP grant funds for religious proselytization? A. Not that I’m aware of. Q. Are
                                  15   you aware of any grantee using TVAP grant funds for religious instruction? A. Not that I’m aware of.
                                       Q. Are you aware of any grantee using TVAP grant funds for the purpose — oh, excuse me. Scratch
                                  16   that. Are you aware of any grantee using TVAP grant funds for the purchase of religious items? A. Not
                                       that I’m aware of. Q. Are you aware of any grantee using TVAP grant funds for the purpose of
                                  17   purchasing or distributing religious literature? A. Not that I’m aware of.”); Bishops Conf. Rule
                                       30(b)(6) Dep. (Chester) – ECF No. 120-1 at 154 (p. 97) (“Q. Okay. Does USCCB use any funds from
                                  18   the grant to promote Catholicism? A. No. Q. Does USCCB use any funds from the grant for
                                       proselytization? A. No. Q. Does USCCB use any funds from the grant for religious education
                                  19   purposes? A. It is possible for a case manager, during the time that they are spending with the client,
                                       which would be presumably covered by the funds for the administrative reimbursement, to make
                                  20   referrals to a client’s preferred religious organization or faith community for something like . . . .”);
                                       Bishops Conf. Rule 30(b)(6) Dep. (Chester) (cont’d) – ECF No. 121-1 at 89 (p. 98) (“. . . religious
                                  21   education, but they can’t technically pay for any courses or any curriculum or cost associated with a
                                       religious education. Q. Okay, and that would be the client’s preferred provider, not USCCB’s preferred
                                  22   provider? A. Correct. Q. Does USCCB use any funds from the grant to maintain or improve churches
                                       or other religious buildings? A. No. Q. Does USCCB use any funds from the grant to purchase
                                  23   religious items? A. No. Q. Does USCCB use any funds from the grant to purchase or distribute
                                       religious literature? A. No.”).
                                  24   98
                                         Cf. ACLU 2d Amend. Interrog. Resps. – ECF No. 116-1 at 61 (“Plaintiff does not allege that
                                       USCCB’s subgrantees were compelled to adopt religious objections but rather that they are prohibited
                                  25   through funding agreements and MOUs from providing abortion or contraception care or referrals.”).
                                  26
                                       99
                                         See Bishops Conf., Proposal for Trafficking Victim Assistance Program app’x F – ECF No. 116-1 at
                                       215 (ACF_000138); accord Bishops Conf. Rule 30(b)(6) Dep. (Chester) – ECF No. 121-1 at 85 (pp.
                                  27   48–49).
                                       100
                                             Bishops Conf. Rule 30(b)(6) Dep. (Chester) – ECF No. 116-1 at 244 (p. 51).
                                  28

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                                   1   secular,101 and (2) the Conference did not have the staffing necessary to vet the organization.102

                                   2   (Any organization is free to apply to be a subgrantee of any of the three TVAP grantees — the

                                   3   Bishops Conference, Tapestri, and USCRI — provided that they contract with only one of the

                                   4   grantees.103)

                                   5         2.3    Access to abortion and contraception
                                   6         The record does not reveal any instance of a trafficking victim who was receiving services

                                   7   from a Bishops Conference subgrantee asking the Conference or its subgrantee for an abortion or

                                   8   contraception. This may be because trafficking victims receiving TVAP services, unlike

                                   9   unaccompanied minors, are generally not in the physical custody of the federal government, the

                                  10   Conference, or its subgrantees, and thus can seek and obtain an abortion or contraception

                                  11   independently.104

                                  12
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                                  13
                                         Id. It is unclear from the deposition testimony whether “it” refers to the prospective subgrantee or to
                                       101

                                  14   USCRI.
                                       102
                                             Id. at 250–51 (pp. 93–95).
                                  15   103
                                          2015 TVAP FOA – ECF No. 116-1 at 104 (“A TVAP grantee may subcontract with service
                                  16   provider organizations outside of the ACF Region(s) in which it provides full coverage. A
                                       subcontractor organization must work with only one primary TVAP grantee.”); accord HHS Rule
                                  17   30(b)(6) Dep. (Chon) – ECF No. 116-1 at 158 (p. 58); Bishops Conf. Rule 30(b)(6) Dep. (Chester) –
                                       ECF No. 116-1 at 242, 244, 245 (pp. 11, 51, 55–56).
                                  18   104
                                           See HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 120-1 at 111–12 (pp. 161–62) (“Q. The trafficking
                                       victims who receive care under this program, they are not in federal custody; is that correct? A. They
                                  19   — I can’t know for every single victim, but generally they are not in federal custody. Q. And that
                                       generally means that wherever they live, they’re free to come and go as they please, correct? A. It’s a
                                  20   voluntary program. Q. So can any, can any grantee prevent a trafficking victim from independently
                                       seeking contraception? A. No. Q. Can any grantee prevent a trafficking victim from independently
                                  21   seeking access to an abortion? A. No.”); Bishops Conf. Rule 30(b)(6) Dep. (Chester) – ECF No. 121-1
                                       at 89–90 (pp. 100–01, 103) (“Q. . . . So for the trafficking victims for whom USCCB is providing care
                                  22   under the grant, does USCCB believe it has been delegated the authority to make ultimate
                                       determinations as to whether these trafficking victims are allowed to get an abortion or contraception?
                                  23   A. Because the clients actually reside in the community and we are providing the clients with, at the
                                       local level, referrals to a service, a medical service provider, again they are often given bus passes or
                                  24   funds to ride the bus or use public transportation, it isn’t possible for our local case managers to
                                       prevent or prohibit a client from seeking those kinds of services. . . . Q. If a client met with their doctor
                                  25   and requested an abortion, would that information be reported back to the case worker? A. I don’t
                                       believe so. Q. If the client had an abortion, would the case worker be informed of that procedure? A. I
                                  26   can’t think of an official way that that would be communicated from a medical provider back to the
                                       case manager. Q. So is it entirely possible that a client could have an abortion without the case worker
                                  27   ever knowing about it? A. It’s possible. Q. And would USCCB be aware of any client that has ever
                                       requested an abortion? A. Not that I’m aware of.”).
                                  28

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                                   1         If a trafficking victim were to ask the Conference or its subgrantee for an abortion or

                                   2   contraception, the Conference or the subgrantee would notify HHS.105 Unlike with unaccompanied

                                   3   minors (who are in custody), trafficking victims (who are generally not in custody) who ask for an

                                   4   abortion are not required to be transferred to another subgrantee.106

                                   5         There is no evidence in the record that any trafficking victim who asked for an abortion or

                                   6   contraception was unable to obtain either because of the religious objections of the Conference or

                                   7   any subgrantee.107

                                   8

                                   9                                        STANDARD OF REVIEW
                                  10         The court must grant a motion for summary judgment if the movant shows that there is no

                                  11   genuine dispute as to any material fact and the moving party is entitled to judgment as a matter of

                                  12   law. Fed. R. Civ. P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). Material
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                                  13   facts are those that may affect the outcome of the case. Anderson, 477 U.S. at 248. A dispute about

                                  14

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                                  16
                                       105
                                             HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 116-1 at 162 (p. 74).
                                  17   106
                                           Bishops Conf. Rule 30(b)(6) Dep. (Chester) – ECF No. 121-1 at 90 (p. 104–05) (“Q. If a client
                                  18   requested an abortion and did happen to notify the case worker about it, would the subrecipient be
                                       required to transfer that client to another subrecipient? A. No. What we’re advising the case managers
                                  19   to do is to redirect clients back to the medical provider that they have already been connected to or to
                                       connect them — if they haven’t yet been connected — to a medical provider, and to have the client
                                  20   understand that those are the kind of conversations and discussions that need to be held between the
                                       client and the medical provider.”).
                                  21   107
                                           HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 120-1 at 106–08, 112–13 (pp. 132–34, 162–63)
                                       (“Q. Okay. Do you recall any cases during the implementation of the 2015 grant where a trafficking
                                  22   survivor requested access to abortion or contraception, and a subgrantee refused to provide on
                                       religious grounds? A. No, I’m not aware. . . . Q. . . . Do you recall a circumstance in which a
                                  23   beneficiary requested access to abortion and contraception and had issues accessing abortion or
                                       contraception because of a subgrantee’s objection to providing those services? A. No. . . . Q. Okay.
                                  24   Are you aware of any trafficking victim being provided care by a TVAP grantee who sought
                                       contraception but was unable to obtain it due to the religious beliefs of the grantee? A. Not to my
                                  25   knowledge. Q. Are you aware of any trafficking victim being provided care by a TVAP grantee who
                                       sought an abortion but was unable to obtain it due to the religious beliefs of the grantee? A. Not to my
                                  26   knowledge.”); accord ACLU 2d Amend. Interrog. Resps. – ECF No. 116-1 at 62 (“At this time,
                                       Plaintiff has not identified particular trafficking victims who have been prevented from obtaining
                                  27   contraceptives because of USCCB’s policies. . . . As of now, Plaintiff has not identified particular
                                       trafficking victims who have been prevented from obtaining abortion because of USCCB’s policies.”).
                                  28

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                                   1   a material fact is genuine if there is sufficient evidence for a reasonable jury to return a verdict for

                                   2   the non-moving party. Id. at 248–49.

                                   3      The party moving for summary judgment bears the initial burden of informing the court of the

                                   4   basis for the motion, and identifying portions of the pleadings, depositions, answers to

                                   5   interrogatories, admissions, or affidavits that demonstrate the absence of a triable issue of material

                                   6   fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). To meet its burden, “the moving party

                                   7   must either produce evidence negating an essential element of the nonmoving party’s claim or

                                   8   defense or show that the nonmoving party does not have enough evidence of an essential element

                                   9   to carry its ultimate burden of persuasion at trial.” Nissan Fire & Marine Ins. Co., Ltd. v. Fritz

                                  10   Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000); see Devereaux v. Abbey, 263 F.3d 1070, 1076

                                  11   (9th Cir. 2001) (“When the nonmoving party has the burden of proof at trial, the moving party

                                  12   need only point out ‘that there is an absence of evidence to support the nonmoving party’s case.’”)
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                                  13   (quoting Celotex, 477 U.S. at 325).

                                  14      If the moving party meets its initial burden, the burden then shifts to the non-moving party to

                                  15   produce evidence supporting its claims or defenses. Nissan Fire & Marine, 210 F.3d at 1103. The

                                  16   non-moving party may not rest upon mere allegations or denials of the adverse party’s evidence,

                                  17   but instead must produce admissible evidence that shows there is a genuine issue of material fact

                                  18   for trial. See Devereaux, 263 F.3d at 1076. If the non-moving party does not produce evidence to

                                  19   show a genuine issue of material fact, the moving party is entitled to summary judgment. See

                                  20   Celotex, 477 U.S. at 323.

                                  21      In ruling on a motion for summary judgment, the court does not make credibility

                                  22   determinations or weigh conflicting evidence. Instead, it views the evidence in the light most

                                  23   favorable to the non-moving party and draws all factual inferences in the non-moving party’s

                                  24   favor. E.g., Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587–88 (1986);

                                  25   Ting v. United States, 927 F.2d 1504, 1509 (9th Cir. 1991).

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                                   1                                               ANALYSIS

                                   2         The three-pronged test articulated in the Supreme Court’s decision in Lemon v. Kurtzman, 403

                                   3   U.S. 602 (1971), remains the dominant mode of Establishment Clause analysis. Freedom From

                                   4   Religion Found., Inc. v. Chino Valley Unified Sch. Dist. Bd. of Educ., 896 F.3d 1132, 1149 (9th

                                   5   Cir. 2018) (citing Santa Monica Nativity Scenes Comm. v. City of Santa Monica, 784 F.3d 1286,

                                   6   1299 n.7 (9th Cir. 2015)). To avoid violating the Establishment Clause, (1) a government practice

                                   7   “must have a secular legislative purpose,” (2) “its principal or primary effect must be one that

                                   8   neither advances nor inhibits religion,” and (3) “it must not foster ‘an excessive entanglement with

                                   9   religion.’” Id. (internal brackets omitted) (quoting Lemon, 403 U.S. at 612–13). “Context is critical

                                  10   when evaluating the government’s conduct.” Id.

                                  11

                                  12   1. Secular Purpose
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                                  13         The legislative purposes underlying the UACP and the TVAP, and the government’s grant

                                  14   awards to the Bishops Conference to provide UACP and TVAP services, satisfy the first prong of

                                  15   the Lemon test. The ACLU concedes that the UACP and the TVAP as a whole have secular

                                  16   purposes,108 and there is no evidence in the record that the government’s UACP or TVAP grants to

                                  17   the Conference were made for any non-secular purpose.109

                                  18
                                  19   2. Principal or Primary Effect of Advancing Religion
                                  20         2.1   Grants to Religious Organizations
                                  21         The ACLU acknowledges that the mere fact that a religiously affiliated organization like the

                                  22   Bishops Conference receives government grants, without more, does not have the principal or

                                  23   primary effect of advancing religion.110 The Supreme Court’s decision in Bowen v. Kendrick, 487

                                  24

                                  25   108
                                             ACLU Reply – ECF No. 124 at 16–17.
                                       109
                                  26         See supra notes 21–22, 96–97.
                                       110
                                          ACLU Reply – ECF No. 124 at 25 (“Plaintiff has never taken the position in this litigation or in the
                                  27   ACLU of Massachusetts v. Sebelius litigation that USCCB or other religiously affiliated entities should
                                       be prohibited from receiving grants.”).
                                  28

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                                   1   U.S. 589 (1988), is instructive on this point. That case involved a statutory government program

                                   2   that provided grants to organizations for services and research in the area of adolescent sexual

                                   3   relations and pregnancy. Id. at 593. Both religious and secular organizations were eligible to apply

                                   4   for and receive government grant funding. Id. at 608. The statute was neutral with respect to

                                   5   applicants’ religious or secular statuses. Id. The Supreme Court held that the fact that religious

                                   6   institutions were allowed to participate as recipients of federal funds, without more, did not violate

                                   7   the Establishment Clause. Id. at 608, 613 (“The facially neutral projects authorized by the [Act] —

                                   8   including pregnancy testing, adoption counseling and referral services, prenatal and postnatal care,

                                   9   educational services, residential care, child care, consumer education, etc. — are not themselves

                                  10   ‘specifically religious activities,’ and they are not converted into such activities by the fact that

                                  11   they are carried out by organizations with religious affiliations.”). The Court declined to adopt an

                                  12   argument that the government’s funding of a religious organization creates a per se “symbolic
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                                  13   link” between government and religion where the government funding is used solely for secular

                                  14   purposes. Id. at 613–14.111

                                  15         The fact that religiously affiliated organizations like Bishops Conference received government

                                  16   UACP and TVAP funding, standing alone, does not establish that the government’s actions had

                                  17   the principal or primary effect of advancing religion.

                                  18
                                  19

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                                  21   111
                                           The Supreme Court noted that a neutral statute could nonetheless have the effect of advancing
                                       religion if government funding, even if designated for specific secular purposes, flowed to an
                                  22   institution that is “pervasively sectarian,” i.e., “‘. . . an institution in which religion is so pervasive that
                                       a substantial portion of its functions are subsumed in the religious mission.’” Bowen, 487 U.S. at 609–
                                  23   10 (internal ellipsis omitted) (quoting Hunt v. McNair, 413 U.S. 734, 743 (1973)). Organizations
                                       whose purpose is “to advance their particular religions” are “pervasively sectarian.” Agostini v. Felton,
                                  24   521 U.S. 203, 218 (1997). But it is not enough to show that an organization “is affiliated with a
                                       religious institution” or that it is “religiously inspired” to show that it is “pervasively sectarian.”
                                  25   Bowen, 487 U.S. at 621. The fact that an organization might have explicit corporate ties to a particular
                                       religious faith and by-laws or policies that prohibit any deviation from religious doctrine are relevant
                                  26   but not conclusive to the question of whether an organization is “pervasively sectarian.” Id. at 620
                                       n.16. Rather, the Court indicated, a pervasively sectarian organization is one whose secular purpose
                                  27   and religious mission are “inextricably intertwined.” Id. The ACLU does not argue here, and does not
                                       identify evidence to support, that the Bishops Conference is “pervasively sectarian.”
                                  28

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                                   1         2.2   Endorsement of Religious Beliefs

                                   2         The ACLU argues that the government violates the Establishment Clause when it goes beyond

                                   3   being neutral and “convey[s] or attempt[s] to convey a message that religion or a particular

                                   4   religious belief is favored or preferred.”112 The ACLU asserts that the government, in entering

                                   5   into grant agreements with the Bishops Conference despite the Conference’s religious objections

                                   6   to abortion and contraception services, has effectively endorsed the Conference’s religious

                                   7   views.113

                                   8         “Governmental action has the primary effect of advancing or disapproving of religion” — and

                                   9   thus fails the second prong of the Lemon test — “if it is ‘sufficiently likely to be perceived by

                                  10   adherents of the controlling denominations as an endorsement, and by the nonadherents as

                                  11   disapproval, of their individual religious choices.’ . . . from the point of view of a reasonable

                                  12   observer who is ‘informed and familiar with the history of the government practice at issue.’”
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                                  13   Vasquez v. Los Angeles Cty., 487 F.3d 1246, 1256 (9th Cir. 2007) (internal brackets and ellipsis

                                  14   omitted) (quoting Brown v. Woodland Joint Unified Sch. Dist., 27 F.3d 1373, 1378 (9th Cir.

                                  15   1994)). The government’s grant relationship and interactions with the Bishops Conference in the

                                  16   record in this litigation are not sufficiently likely to be perceived as an endorsement of the

                                  17   Conference’s religious beliefs.

                                  18         If anything, the government acted in a manner that is in opposition to the Conference’s

                                  19   religious beliefs. The Conference has a moral and religious objection to abortion. In the UACP,

                                  20   the government took affirmative steps to transfer unaccompanied minors who wanted abortions to

                                  21   other UACP shelters that did not have objections to abortion and appears to have arranged for

                                  22   every such minor to have access to abortion services.114 A reasonable observer would not view the

                                  23   government’s taking affirmative steps to facilitate access to abortion as an endorsement of the

                                  24

                                  25
                                         ACLU Mot. – ECF No. 116 at 16 (emphasis in original) (quoting County of Allegheny v. ACLU
                                       112

                                  26   Greater Pittsburgh Chapter, 492 U.S. 573, 593 (1989)).
                                  27
                                       113
                                             ACLU Reply – ECF No. 124 at 20–21.
                                       114
                                             See supra notes 28–30.
                                  28

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                                   1   Conference’s anti-abortion religious beliefs. Similarly, in the TVAP, the government told the

                                   2   Conference that the various religious provisions that the Conference had proposed to include in its

                                   3   subgrant agreements did not comply with government requirements and made the Conference

                                   4   remove them.115 A reasonable observer would not view the government’s requirement that the

                                   5   Conference remove religious requirements as an endorsement of the Conference’s religious

                                   6   beliefs.

                                   7         2.3     Delegation of Governmental Functions
                                   8         The ACLU argues that “delegating a government function to a religious entity

                                   9   unconstitutionally advances religion.”116 The ACLU asserts that the government delegated to the

                                  10   Bishops Conference (1) “the ability to determine which health services unaccompanied minors are

                                  11   permitted to access” in the UACP, and (2) “the ability to create its own network of subgrantees,

                                  12   and . . . to select those subgrantees based on their shared religious opposition to providing and
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                                  13   referring to abortion and contraception, and to prohibit those subgrantees from using grant funds

                                  14   to pay for abortion counseling and services and abortive prescriptions” in the TVAP.117 The

                                  15   ACLU’s assertions are not supported by the evidence in the record.

                                  16               2.3.1   The UACP and the purported ability to determine which health services
                                                           unaccompanied minors are permitted to access
                                  17

                                  18         The record does not support the ACLU’s assertion that the government delegated to the

                                  19   Bishops Conference the ability to determine which health services, including abortion or

                                  20   contraception services, that unaccompanied minors are permitted to access. To the contrary, the

                                  21   record shows that (1) if unaccompanied minors wanted access to abortion services to which the

                                  22   Conference or its subgrantees objected on religious grounds, the government transferred them to

                                  23   other shelters where they could access those services, and (2) if unaccompanied minors wanted

                                  24   access to contraception services, they could obtain them directly from their medical providers

                                  25

                                  26   115
                                             See supra notes 80–93.
                                  27
                                       116
                                             ACLU Mot. – ECF No. 116 at 19.
                                       117
                                             Id. at 20.
                                  28

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                                   1   without the involvement of or denial by the Conference or its subgrantees.118 There is no evidence

                                   2   in the record that any unaccompanied minor was denied access to any abortion or contraception

                                   3   services or that the government delegated to the Bishops Conference any power to determine

                                   4   whether or not unaccompanied minors would have access to any services.119

                                   5             2.3.2    The TVAP and the purported ability to select subgrantees based on shared
                                                          religious views and to prohibit subgrantees from using grant funds to pay for
                                   6                      abortion services
                                   7         The record does not support the ACLU’s assertion that the government delegated to the

                                   8   Bishops Conference the ability to prohibit TVAP subgrantees from using grant funds to pay for

                                   9   abortion counseling and services and abortive prescriptions. The government did not delegate to

                                  10   the Conference the ability to prohibit subgrantees from using grant funds to pay for services such

                                  11   as abortion or contraception. Instead, the government required the Conference to agree to “refrain

                                  12   from including any language in any program-related documents, including sub-agreements,
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                                  13   limiting the ability of subcontractors to provide any services, as provided in the TVAP FOA, for

                                  14   which victims are eligible.”120

                                  15         The Bishops Conference’s alleged power to prohibit TVAP subgrantees from using grant

                                  16   funds to pay for certain services is further limited by the presence of the other two secular TVAP

                                  17   grantees, Tapestri and USCRI. At most, the Conference has the ability to select or veto the

                                  18   organizations that serve as its subgrantees. The Conference does not have the ability to select or

                                  19   veto organizations that serve as TVAP subgrantees generally, or to control the TVAP funding

                                  20   those organizations receive or what services they provide. Subgrantees with views that run

                                  21   contrary to the Conference’s religious beliefs can enter into subgrant agreements with Tapestri and

                                  22

                                  23

                                  24
                                       118
                                             See supra notes 26–29, 61–64.
                                  25   119
                                             See supra notes 30, 65.
                                  26   120
                                          See supra notes 94–95. The government itself prohibited all TVAP grantees (religious and secular)
                                       from using TVAP funds for certain services, including for abortions other than in the case of rape,
                                  27   incest, or where the woman’s life is in danger, see supra notes 71–72, but that was a government
                                       decision that involved no delegation of a governmental function to a religious organization.
                                  28

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                                   1   USCRI.121 The Conference thus cannot prevent subgrantees from receiving TVAP funding or

                                   2   providing services that the Conference might oppose.122

                                   3         This distinguishes the government’s arrangement here from the arrangement in ACLU of

                                   4   Massachusetts I. There, the Bishops Conference was the only TVAP grantee. The Conference thus

                                   5   could exercise the government’s full power to exclude certain subgrantees and services from

                                   6   receiving any TVAP government funding at all. The District of Massachusetts held that this was

                                   7   an unconstitutional delegation of a governmental function to a religious organization. See ACLU

                                   8   of Mass. I, 821 F. Supp. 2d at 487 (“[T]he government defendants’ delegation of authority to the

                                   9   USCCB to exclude certain services from government funding ‘provides a significant symbolic

                                  10   benefit to religion,’ in violation of the Establishment Clause.”). Here, by contrast, the Conference

                                  11   cannot exclude subgrantees or services from government funding.

                                  12         Larkin v. Grendel’s Den, Inc., 459 U.S. 116 (1982), another case the ACLU cites, is
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                                  13   distinguishable for the same reason. That case involved a law that gave churches an unqualified

                                  14   right to veto liquor-license applications for any premise located within 500 feet of the church. Id.

                                  15   at 117. The Supreme Court held that the law was unconstitutional, as the “power to veto certain

                                  16   liquor license applications . . . . is a power ordinarily vested in agencies of the government,” and

                                  17   delegation of that power to churches — which could employ that power “for explicitly religious

                                  18
                                  19   121
                                             See supra note 103.
                                       122
                                  20      While not dispositive, it is worth noting that the government provided USCRI with more TVAP
                                       funding than it did the Bishops Conference for each of fiscal years 2015, 2016, and 2017, supra notes
                                  21   78–79, and the Conference has no control over how USCRI might allocate its funding.
                                         The ACLU argues that the Bishops Conference has the highest reimbursement rate of the three
                                  22   grantees, and thus that “prospective subgrantees that are prohibited from subcontracting with USCCB
                                       because they do not share USCCB’s religious beliefs are penalized.” ACLU Mot. – ECF No. 116 at 18
                                  23   (citing HHS Rule 30(b)(6) Dep. (Chon) – ECF No. 116-1 at 165 (p. 157)). The parties do not
                                       definitively articulate how the three TVAP grantees’ reimbursement rates are set. It appears that each
                                  24   grantee determines its own reimbursement rates. See HHS Rule 30(b)(6) Dep. (Chon) – ECF No.
                                       116-1 at 165 (p. 157). It also appears that reimbursement rates to subgrantees differ based on differing
                                  25   levels of service. See Bishops Conf. Rule 30(b)(6) Dep. (Chester) – ECF No. 116-1 at 244 (p. 52).
                                       There is nothing in the record that suggests that the Conference has any control over setting Tapestri’s
                                  26   or USCRI’s reimbursement rates. This record, and the record of the government’s requiring the
                                       Conference not to include any language in subgrant agreements limiting the services that subgrantees
                                  27   can provide, cannot be fairly characterized as the government’s delegating to the Conference the
                                       power to “penalize” subgrantees who do not share the Conference’s religious views.
                                  28

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                                   1   goals, for example, favoring liquor licenses for members of that congregation or adherents of that

                                   2   faith” — violated the Establishment Clause. Id. at 122, 125–26. Here, by contrast, the Conference

                                   3   has no similar veto power over what organizations can be TVAP subgrantees, what funding they

                                   4   might receive, or what services they might provide.123

                                   5         2.4   Harm to Third Parties
                                   6         The ACLU argues that the government violates the Establishment Clause when it “authoriz[es]

                                   7   religiously affiliated grantees to impose their faith on marginalized populations in the context of a

                                   8   government program.”124 Citing the examples of Rosa, Maria, Michelle, and Zoe, the ACLU

                                   9   argues that (1) the Bishops Conference’s objections to abortion has resulted in a “marginalized

                                  10   population” of unaccompanied minors having to be transferred away from faith-based shelters,

                                  11   and (2) these transfers have imposed harms on the minors, such as delays in receiving abortion

                                  12   services, the loss of connections with family members, attorneys, social workers, and others at the
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                                  13   original shelter location, and shame and stigma.125 This argument fails because the ACLU lacks

                                  14   standing to advance a claim based on the harms imposed on unaccompanied minors.

                                  15

                                  16

                                  17   123
                                           The ACLU’s citation to Board of Education of Kiryas Joel School District v. Grumet, 512 U.S. 687
                                       (1994), does not change that outcome. That case involved an ad hoc “special” statute passed by the
                                  18   New York State Legislature that delegated the powers to control a school district to a village populated
                                       by “vigorously religious” residents. Id. at 691, 693. The issue there was less the village’s exercise of
                                  19   the power to control the school district, as opposed to the government’s ad hoc decision to delegate
                                       this power to this one religiously dominated village, without providing any assurances that the
                                  20   government would treat other future groups the same way. See id. at 703 (“[W]hereas in Larkin it was
                                       religious groups the Court thought might exercise civic power to advance the interests of religion (or
                                  21   religious adherents), here the threat to neutrality occurs at an antecedent stage. The fundamental source
                                       of constitutional concern here is that the legislature itself may fail to exercise governmental authority
                                  22   in a religiously neutral way. The anomalously case-specific nature of the legislature’s exercise of state
                                       authority in creating this district for a religious community leaves the Court without any direct way to
                                  23   review such state action for the purpose of safeguarding a principle at the heart of the Establishment
                                       Clause, that government should not prefer one religion to another, or religion to irreligion. Because the
                                  24   religious community of Kiryas Joel did not receive its new governmental authority simply as one of
                                       many communities eligible for equal treatment under a general law, we have no assurance that the next
                                  25   similarly situated group seeking a school district of its own will receive one . . . .”) (internal citation
                                       omitted). Here, there is no evidence that the government engaged in any ad hoc decision to favor the
                                  26   Bishops Conference over any other grant applicant.
                                  27
                                       124
                                             ACLU Mot. – ECF No 116 at 17.
                                       125
                                             Id.
                                  28

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                                   1         To establish standing, “[t]he plaintiff must have (1) suffered an injury in fact, (2) that is fairly

                                   2   traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a

                                   3   favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citing Lujan v.

                                   4   Defenders of Wildlife, 504 U.S. 555, 560 (1992)). “It requires allegations — and, eventually, proof

                                   5   — that the plaintiff ‘personally’ suffered a concrete and particularized injury in connection with

                                   6   the conduct of which he complains.” Trump v. Hawaii, 138 S. Ct. 2392, 2416 (2018) (internal

                                   7   brackets omitted) (citing Spokeo, 136 S. Ct. at 1547–48). “In a case arising from an alleged

                                   8   violation of the Establishment Clause, a plaintiff must show, as in other cases, that [it] is ‘directly

                                   9   affected by the laws and practices against which [its] complaints are directed.’” Id. (quoting Sch.

                                  10   Dist. v. Schempp, 374 U.S. 203, 224 n.9 (1963)).

                                  11         The ACLU has not suffered a concrete and particularized injury and is not directly affected by

                                  12   the practice of transferring unaccompanied minors or trafficking victims. The ACLU is not itself
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                                  13   an unaccompanied minor or trafficking victim (and does not represent any unaccompanied minor

                                  14   or trafficking victim in this case). It thus does not have standing to bring a claim for any injuries

                                  15   that unaccompanied minors or trafficking victims might have suffered (e.g., injuries from any

                                  16   purported delays in receiving abortions) that it did not suffer itself.

                                  17         The only injuries the ACLU alleges in this case that it suffered itself were putative injuries

                                  18   borne in capacity as a taxpayer. ACLU of N. Cal. v. Burwell, No. 16-cv-03539-LB, 2016 WL

                                  19   6962871, at *1 (N.D. Cal. Nov. 29, 2016) (ACLU of N. Cal. I); ACLU of N. Cal. v. Burwell, No.

                                  20   16-cv-03539-LB, 2017 WL 4551492, at *1 (N.D. Cal. Oct. 11, 2017) (ACLU of N. Cal. II).126 The

                                  21   Supreme Court “explain[ed] that individuals suffer a particular injury for standing purposes when,

                                  22   in violation of the Establishment Clause and by means of ‘the taxing and spending power,’ their

                                  23   property is transferred through the Government’s Treasury to a sectarian entity.” Ariz. Christian

                                  24   Sch. Tuition Org. v. Winn, 563 U.S. 125, 139–40 (2011) (citing Flast v. Cohen, 392 U.S. 83, 105–

                                  25

                                  26
                                  27
                                       126
                                             Orders – ECF Nos. 25, 102; see FAC – ECF No. 57 at 5 (¶ 11), 21–22 (¶¶ 76–77, 80).
                                  28

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                                   1   06 (1968)).127 “[T]he ‘injury’ alleged in [taxpayer] Establishment Clause challenges to federal

                                   2   spending [is] the very ‘extraction and spending’ of ‘tax money’ in aid of religion[.]” Id. at 140

                                   3   (internal brackets omitted) (quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 348 (2006)). A

                                   4   taxpayer can bring an Establishment Clause claim if there is “a resulting subsidy of religious

                                   5   activity . . . traceable to the government’s expenditures.” Id. at 143. There is nothing in the record

                                   6   here that supports that there was a subsidy of religious activity traceable to the government’s

                                   7   spending of taxpayer dollars.

                                   8         The record here shows that the government’s UACP and TVAP grant money was used to

                                   9   provide general secular care services to unaccompanied minors and that no government money

                                  10   was used for proselytization, religious education, religious facilities, religious items, religious

                                  11   literature, or other religious activity.128 There is no evidence that the ACLU, or any taxpayer, was

                                  12   forced to monetarily subsidize the Bishops Conference’s religious beliefs. To the extent that the
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                                  13   Conference declined to provide unaccompanied minors with access to abortion or contraception

                                  14   services, it did not use any government tax money to do so, and thus its actions are not properly

                                  15   the subject of a taxpayer-standing suit. See Doe v. Madison Sch. Dist. No. 321, 177 F.3d 789, 794

                                  16   (9th Cir. 1999) (en banc) (“Taxpayer standing protects against only one type of injury, namely the

                                  17   ‘misuse of public funds.’ If a plaintiff identifies no public funds that were spent solely on the

                                  18   challenged activity, then the plaintiff has not alleged a taxpayer injury.”) (citations omitted). To

                                  19   the extent the government then had to spend additional taxpayer money to transfer unaccompanied

                                  20   minors to non-Conference-affiliated shelters in order to provide unaccompanied minors with

                                  21   access to abortion and contraception services, such money did not subsidize religious activity. To

                                  22   the contrary, that additional money was money used to achieve an outcome in opposition to the

                                  23   Conference’s religious views.

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                                       127
                                          The Flast taxpayer-standing doctrine for cases involving Establishment Clause claims is a “narrow
                                       exception” to the general rule that “[a]bsent special circumstances, . . . standing cannot be based on a
                                  27   plaintiff’s mere status as a taxpayer.” Winn, 563 U.S. at 134, 138.
                                       128
                                             See supra notes 22, 97.
                                  28

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                                   1         The court expresses no opinion about whether an unaccompanied minor who may have

                                   2   suffered harm from being transferred or being delayed abortion services might be able to bring a

                                   3   claim. Cf. Winn, 563 U.S. at 145 (“[I]f a law or practice . . . disadvantages a particular religious

                                   4   [party] or a particular nonreligious [party], the disadvantaged party would not have to rely on Flast

                                   5   [taxpayer standing] to obtain redress for a resulting injury. . . . If an establishment of religion is

                                   6   alleged to cause real injury to particular individuals, the federal courts may adjudicate the

                                   7   matter.”). But the ACLU cannot fit an unaccompanied minor’s challenge to harm she suffered into

                                   8   a taxpayer-standing suit. Because there is no evidence that government tax money has been used

                                   9   to subsidize religion, the ACLU’s third-party-harm theory fails and cannot serve as the basis for

                                  10   the its Establishment Clause claim.129

                                  11

                                  12   3. Excessive Entanglement With Religion
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                                  13         The Supreme Court has held that “grant monitoring” by the government of programs set up by

                                  14   recipients of federal grants, including “a review of . . . materials that a grantee proposes to use” or

                                  15   “hav[ing] Government employees visit the clinics or offices where [the grantee’s] programs are

                                  16   being carried out to see whether they are in fact being administered in accordance with statutory

                                  17   and constitutional requirements. . . . does not amount to ‘excessive entanglement,’ at least in the

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                                       129
                                          At the motion-to-dismiss stage, the court allowed the ACLU’s taxpayer-standing claim to go
                                       forward because the factual record was still unclear. For example, at the pleading stage, it was not
                                  20   clear whether the government’s awarding of grants was intended to benefit religious organizations. See
                                       ACLU of N. Cal. I, 2016 WL 6962871, at *10. At summary judgment, however, the ACLU must
                                  21   support its taxpayer-standing claim with evidence that tax money was used to subsidize religion. See
                                       Trump, 138 S. Ct. at 2416. This it has failed to do.
                                  22     The cases the ACLU cites in support of its “harm to third parties” theory are inapposite. Each case
                                       involved a party that was directly affected by the government practice at issue. Cf. Larkin, 459 U.S. at
                                  23   117–18 (involving a restaurant whose liquor license was denied under a government law that gave
                                       churches and schools the right to veto applications); Tex. Monthly, Inc. v. Bullock, 489 U.S. 1, 6 (1989)
                                  24   (plurality op.) (involving a magazine publisher whose magazines were subject to a sales tax that the
                                       government imposed on secular but not religious periodicals); Estate of Thornton v. Caldor, Inc., 472
                                  25   U.S. 703, 705–06 (1985) (involving an employer whose employee refused to work on Sundays, citing
                                       a government Sabbath law); ACLU of N.J. v. Black Horse Pike Reg’l Bd. of Educ., 84 F.3d 1471, 1475
                                  26   (3d Cir. 1996) (en banc) (involving a student at a public high school regarding prayer at his school’s
                                       graduation ceremony). The cases were not taxpayer-standing suits. The court expresses no opinion
                                  27   about whether those cases support an unaccompanied minor’s claim about direct harm, but they do not
                                       support the taxpayer-standing claim that the ACLU advances here.
                                  28

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                                   1   context of a statute authorizing grants to religiously affiliated organizations that are not necessarily

                                   2   ‘pervasively sectarian.’” Bowen, 487 U.S. at 616–17.

                                   3         The ACLU points to no evidence in the record and makes no real argument that the

                                   4   government’s grant relationship and interactions with the Bishops Conference fosters an excessive

                                   5   entanglement with religion. To the extent that the government had to monitor the Conference to

                                   6   review whether it was acting in compliance with statutory and constitutional requirements, there is

                                   7   no evidence that it rose to the level of fostering excessive entanglement.

                                   8                                              *       *       *

                                   9         As the undisputed evidence presented to the court in this case shows that all three Lemon

                                  10   factors were satisfied with respect to the UACP and the TVAP, summary judgment for the

                                  11   defendants is appropriate.130

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                                  13                                             CONCLUSION
                                  14         The court denies the ACLU’s motion for summary judgment and grants the defendants’ cross-

                                  15   motions for summary judgment.

                                  16

                                  17         IT IS SO ORDERED.

                                  18         Dated: October 11, 2018

                                  19                                                     ______________________________________
                                                                                         LAUREL BEELER
                                  20                                                     United States Magistrate Judge
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                                  27   130
                                           In light of this determination, it is unnecessary to reach the Bishop Conference’s arguments about
                                       religious accommodation or the Religious Freedom Restoration Act.
                                  28

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